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             EXHIBIT L
                          National Security Law Firm
       Case 1:23-cv-02386-RCL Document 1-3 Filed 08/16/23 Page 25 of 147
                                         1250 Connecticut Avenue, NW
                                                 Suite 700
                                          Washington, D.C. 20036
                                                 ─────
                                               202-600-4996
                                             Fax 202-545-6318
                                     Info@NationalSecurityLawFirm.com
             Admitted in New Jersey, New York, Hawaii, California, Ohio, Minnesota, and Washington D.C



                                                                                          26 April 23

Via Email: dcsa.quantico.dcsa-hq.mbx.foia@mail.mil
Defense Counterintelligence and Security Agency (DCSA)
27130 Telegraph Road
Quantico, VA 22134-2253

       RE: Our Client: Grant J. Bierly
       SS#:
                                                               for Classified Information

Dear Sir/Madam:

        Please be advised that I have been retained to represent Grant J. Bierly. On our client’s
behalf, I am requesting my client’s records, a Privacy Act request, and held by the Department of
Defense Counterintelligence and Security Agency. To assist you in providing the expedited
request, please find attached a true and accurate copy of the Statement of Reasons issued to our
client as Exhibit A.

        I am forwarding this letter as an expedited request for processing. Please note that
our office requires the expedited request under the expedited processing regulation noted
as (iii) the loss of substantial due process rights. We further request that if any of the
documents are classified that there is an immediate declassification review.

Description of Records Sought:

       1) All interagency and intra-agency memoranda, email, or other written correspondence
          that include my client’s name;
       2) All investigation and standard forms used in the security clearance adjudication
          process pertaining to the above;
       3) Any information, to include documents, records, and reports, which were considered
          when seeking to deny or revoke the security clearance. This includes information
          upon which the denial or revocation is based, as well as information that was
          reviewed, but ultimately not used as a basis for denial or revocation.
       4) A copy of the entire security clearance background investigative file, as permitted by
          the national security and other applicable law, and which shall be provided prior to
          the written response and in compliance with the Privacy Act’s processing timelines
          time set for a written reply.
       Case 1:23-cv-02386-RCL Document 1-3 Filed 08/16/23 Page 26 of 147




    Identity Verification:
       Full Name: Grant J. Bierly




              pay fees:
       My office agrees to pay all applicable fees in accordance with federal law.

Preferred delivery method:
       Please send all disclosures to 1250 Connecticut Avenue, Suite 700, Washington, DC
20036

Authorization for Release:
       I authorize information pertaining to me to be released to the National Security Law
Firm, my legal counsel in this matter. I understand that I will not be furnished a duplicate copy
of any disclosures. Pursuant to 5 USC 552a(b), I authorize the Department of Defense to release
my records to the National Security Law Firm.

         I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct, that I am the person described above. I understand that any
falsification of this statement is punishable under the provisions of 18 USC 1001 by a fine of not
more than $10,000, or by imprisonment for not more than five years or both, and that requesting
or obtaining any record(s) under false pretenses is punishable under the provisions of 5 USC
552a(i)(3) by a fine of not more than $5,000.

_______________________                                                    _____________
Grant J. Bierly                                                              Date

        I hereby certify that the foregoing statements made by me in this request are true and
correct. I am aware that if any statement made by me is willfully false, I am subject to
punishment.

       I would ask that you grant our request for the expedited processing of this Privacy
Act request. Thank you for your assistance in this matter.

                                             Very truly yours,
                                             Brett John O’Brien
       Case 1:23-cv-02386-RCL Document 1-3 Filed 08/16/23 Page 27 of 147




                                    Brett John O’Brien
BO/yml
Cc: Grant J. Bierly
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            EXHIBIT M
Case 1:23-cv-02386-RCL Document 1-3 Filed 08/16/23 Page 32 of 147
       Case 1:23-cv-02386-RCL Document 1-3 Filed 08/16/23 Page 33 of 147




    Identity Verification:
       Full Name: Grant J. Bierly




Agreement to pay fees:
      My office agrees to pay all applicable fees in accordance with federal law.

Preferred delivery method:
       Please send all disclosures to 1250 Connecticut Avenue, Suite 700, Washington, DC
20036

Authorization for Release:
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         I declare under penalty of perjury under the laws of the United States of America that the
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_______________________                                                    _____________
Grant J. Bierly                                                              Date

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       I would ask that you grant our request for the expedited processing of the Privacy
Acton the aforementioned FOIA request. Thank you for your assistance in this matter.

                                             Very truly yours,
                                             Brett John O’Brien
                                             Brett John O’Brien
BO/yml
       Case 1:23-cv-02386-RCL Document 1-3 Filed 08/16/23 Page 34 of 147




Cc: Grant J. Bierly
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             EXHIBIT O
      Case 1:23-cv-02386-RCL Document 1-3 Filed 08/16/23 Page 136 of 147


                          National Security Law Firm
                                         1250 Connecticut Avenue, NW
                                                 Suite 700
                                          Washington, D.C. 20036
                                                 ─────
                                               202-600-4996
                                             Fax 202-545-6318
                                     Info@NationalSecurityLawFirm.com
             Admitted in New Jersey, New York, Hawaii, California, Ohio, Minnesota, and Washington D.C




                                                                                          June 15, 2023
Via Certified Mail: RRR (FOIA APPEAL)
Financial Crimes Enforcement Network
Disclosure Office
P.O. Box 39
Vienna, VA 22183



                                        etter May 12, 2023

Dear Sir/Madam:

       Please be advised that our office has been retained to represent Mr. Grant Bierly in
connection with a revocation of eligibility for access to SCI. On May 17, 2023, this office
received a letter from the Defense Counterintelligence and Security Agency in response to our
FOIA request. A copy of both our original FOIA request and the May 17, 2023 response is
attached as Exhibit A.

         It is noted that certain redactions were withheld in the FOIA response on behalf of your
agency. Please accept this letter as our appeal of the decision to redact these portions of the
response in relation to documents 1, 2, 3, 5, 6, and 87 with regards to FOIA exemption (b)(3) and
Privacy Act (j)(2) and (k)(2). Mr. Bierly is entitled to review all aspects of the investigation
relating to the revocation of eligibility for access to SCI which has impacted his career. As such,
this office requests that the unredacted portions of the response be released to our office.

        The withholding of documents is the loss of substantial due process rights for our client.
Mr. Bierly should have the opportunity to review all records that were used in the revocation of
his eligibility for access to SCI which resulted in his loss of employment. Attached is the
original Statement of Reasons dated November 18, 2022 as Exhibit B.
      Case 1:23-cv-02386-RCL Document 1-3 Filed 08/16/23 Page 137 of 147




      I would ask that you grant our request for the expedited processing on the
aforementioned appeal. Thank you for your assistance in this matter.

                                    Very truly yours,
                                    Brett John O’Brien
                                    Brett John O’Brien
BO/yml
Cc: Grant Bierly
                         National Security Law Firm
      Case 1:23-cv-02386-RCL Document 1-3 Filed 08/16/23 Page 138 of 147
                                        1250 Connecticut Avenue, NW
                                                Suite 700
                                         Washington, D.C. 20036
                                                ─────
                                              202-600-4996
                                            Fax 202-545-6318
                                    Info@NationalSecurityLawFirm.com
            Admitted in New Jersey, New York, Hawaii, California, Ohio, Minnesota, and Washington D.C



                                                                               25 April 2023

Via Email: dcsa.boyers.dcsa.mbx.inv-foip@mail.mil
Defense Counterintelligence and Security Agency (DCSA)
Attn: FOI/PA Office for Adjudications
1137 Branchton Road, Box 618
Boyers, PA 16018




Dear Sir/Madam:

        Please be advised that I have been retained to represent Mr. Grant J. Bierly. On our
client’s behalf, I am requesting my client’s records, a Privacy Act request, and held by the
Department of Defense Counterintelligence and Security Agency. To assist you in providing the
expedited request, please find attached a true and accurate copy of the Statement of Reasons
issued to our client as Exhibit A.

        I am forwarding this letter as an expedited request for processing. Please note that
our office requires the expedited request under the expedited processing regulation noted
as (iii) the loss of substantial due process rights. We further request that if any of the
documents are classified that there is an immediate declassification review.

Description of Records Sought:

       1) All interagency and intra-agency correspondence that include my client’s name;
       2) All interagency and intra-agency records that include my client’s name;
       3) All investigation and standard forms used in the security clearance adjudication
          process pertaining to the above;
       4) Any documents, records and reports upon which the denial or revocation of the
          security clearance is based;
       5) A copy of the entire investigative file, as permitted by the national security and other
          applicable law, and which shall be provided prior to the written response and in
          compliance with the Privacy Act’s processing timelines time set for a written reply.
      Case 1:23-cv-02386-RCL Document 1-3 Filed 08/16/23 Page 139 of 147




    Identity Verification:




              pay fees:
       My office agrees to pay all applicable fees in accordance with federal law.

Preferred delivery method:
       Please send all disclosures to 1250 Connecticut Avenue, Suite 700, Washington, DC
20036

Authorization for Release:
       I authorize information pertaining to me to be released to the National Security Law
Firm, my legal counsel in this matter. I understand that I will not be furnished a duplicate copy
of any disclosures. Pursuant to 5 USC 552a(b), I authorize the Department of Defense to release
my records to the National Security Law Firm.

         I declare under penalty of perjury under the laws of the United States of America that the
foregoing is true and correct, that I am the person described above. I understand that any
falsification of this statement is punishable under the provisions of 18 USC 1001 by a fine of not
more than $10,000, or by imprisonment for not more than five years or both, and that requesting
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_______________________                                                    _____________
Grant J. Bierly                                                              Date

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                                             Brett John O’Brien
                                             Brett John O’Brien
BO/yml
      Case 1:23-cv-02386-RCL Document 1-3 Filed 08/16/23 Page 140 of 147




Cc: Grant J. Bierly
Case 1:23-cv-02386-RCL Document 1-3 Filed 08/16/23 Page 141 of 147
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              EXHIBIT P
Case 1:23-cv-02386-RCL Document 1-3 Filed 08/16/23 Page 144 of 147
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                                                        Filed 08/16/23 Page 145 of 147




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                                                        Filed 08/16/23 Page 146 of 147




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Case 1:23-cv-02386-RCL Document 1-3 Filed 08/16/23 Page 147 of 147
